                      Case 19-27996            Doc         Filed 09/24/20          Entered 09/24/20 21:38:05                      Desc Main
                                                               Document            Page 1 of 5
Fill in this information to identify the case:

Debtor 1               Peter A Renkens

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Northern                    District of Illinois
                                                                                 (State)

Case number            19-27996



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 Wilmington Savings Fund Society, FSB, not           Court claim no. (if known):         4-2
                                  in its individual capacity but solely as owner
                                  trustee for Deephaven Residential Mortgage
                                  Trust 2019-1

Last four digits of any number you                 XXXXXX5148                         Date of payment change:
use to identify the debtor’s account:                                                 Must be at least 21 days after date of             11/1/2020
                                                                                      this notice

                                                                                      New total payment:
                                                                                      Principal, interest, and escrow, if any            $2,276.83

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:              $ 928.17                                      New escrow payment :          $ 1,033.34

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate note?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                           %                              New interest rate:           %

             Current principal and interest payment:          $ _________                     New principal and interest payment:         $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                  $ _________                             New mortgage payment:             $ _________




Official Form 410S1                                 Notice of Mortgage Payment Change                                                page 1
                Case 19-27996             Doc         Filed 09/24/20      Entered 09/24/20 21:38:05            Desc Main
                                                          Document        Page 2 of 5
 Debtor 1            Peter A Renkens                                                Case number (if known) 19-27996
                    First Name Middle Name     Last Name


Part 4:         Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.
 X    /s/Toni Townsend                                                                 Date     9/24/2020
     Signature

Print:        Toni                                                   Townsend          Title    Authorized Agent for Creditor
              First Name             Middle Name                     Last Name

Company       McCalla Raymer Leibert Pierce, LLC

Address       1544 Old Alabama Road
              Number      Street
              Roswell                         GA                      30076
              City                            State                   ZIP Code

Contact phone      (312) 346-9088 X5174                                                Email    Toni.Townsend@mccalla.com




Official Form 410S1                             Notice of Mortgage Payment Change                                     page 2
   Case 19-27996         Doc     Filed 09/24/20     Entered 09/24/20 21:38:05       Desc Main
                                     Document       Page 3 of 5



                                                       Bankruptcy Case No.: 19-27996
 In Re:                                                Chapter:             13
          Peter A Renkens                              Judge:               A. Benjamin
                                                                            Goldgar

                                   CERTIFICATE OF SERVICE

      I, Toni Townsend, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Peter A Renkens
719 Cameron Drive
Antioch, IL 60002

David M Siegel                                 (served via ECF Notification)
David M. Siegel & Associates
790 Chaddick Drive
Wheeling, IL 60090

Glenn B Stearns, Trustee                       (served via ECF Notification)
801 Warrenville Road
Suite 650
Lisle, IL 60532

Patrick S Layng                                (served via ECF Notification)
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       9/24/2020        By:    /s/Toni Townsend
                     (date)                Toni Townsend
                                           Authorized Agent for Creditor
                  Case 19-27996                  DocShellpoint
                                                         Filed    09/24/20
                                                               Mortgage Servicing Entered 09/24/20 21:38:05 Final
                                                                                                               Desc Main
                                                               Document
                                                    PO Box 10826                  Page  4 of 5
                                                         Greenville, SC 29603 0826
                                                         For Inquiries: (800) 365-7107

                                                                                                               Analysis Date:                                    August 31, 2020
       PETER A RENKENS                                                                                         Loan:
       719 Cameron Drive                                                                                       Property Address:
       Antioch IL 60002                                                                                        719 Cameron Drive
                                                                                                               Antioch, IL 60002




                                                Annual Escrow Account Disclosure Statement - Account History
     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual Effective Nov01, 2020            Prior Esc Pmt       November 01, 2019          Escrow Balance Calculation
P & I Pmt:                  $1,243.49                  $1,243.49**     P & I Pmt:                     $1,243.49       Due Date:                                November 01, 2019
Escrow Pmt:                  $928.17                   $1,033.34       Escrow Pmt:                     $928.17        Escrow Balance:                                -$2,168.62
Other Funds Pmt:                $0.00                      $0.00       Other Funds Pmt:                   $0.00       Anticipated Pmts to Escrow:                    $11,138.04
Asst. Pmt (-):                  $0.00                      $0.00       Asst. Pmt (-):                     $0.00       Anticipated Pmts from Escrow (-):               $1,612.00
Reserve Acct Pmt:               $0.00                      $0.00       Resrv Acct Pmt:                    $0.00
Total Payment:              $2,171.66                  $2,276.83       Total Payment:                 $2,171.66       Anticipated Escrow Balance:                        $7,357.42

Shortage/Overage Information                      Effective Nov01, 2020           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                   $12,400.08          amounts or insurance premiums, your escrow balance contains a cushion of
Required Cushion                                               $2,066.68          2,066.68. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                      $3,100.02          prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                    $0.00          disbursement amount occurs. Your lowest monthly balance should not be below
Surplus                                                        $4257.40           2,066.68 or 1/6 of the anticipated payment from the account.
      ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
     This is a statement of actual activity in your escrow account from Nov2019 to Oct 2020. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                        Payments to Escrow                   Payments From Escrow                                                 Escrow Balance
        Date            Anticipated      Actual              Anticipated       Actual                 Description                 Required              Actual
                                                                                                Starting Balance                   2,784.53          (4,077.50)
       Nov 2019               928.17                                                       *                                       3,712.70          (4,077.50)
       Dec 2019               928.17                                                       *                                       4,640.87          (4,077.50)
       Jan 2020               928.17                                                       *                                       5,569.04          (4,077.50)
       Jan 2020                               1,856.34                                     *    Escrow Only Payment                5,569.04          (2,221.16)
       Feb 2020               928.17                                                       *                                       6,497.21          (2,221.16)
       Mar 2020               928.17                                                       *                                       7,425.38          (2,221.16)
       Apr 2020               928.17                                                       *                                       8,353.55          (2,221.16)
       May 2020               928.17                                                       *                                       9,281.72          (2,221.16)
       May 2020                                                                   5,394.04 *    County Tax                         9,281.72          (7,615.20)
       Jun 2020               928.17            928.17          4,763.03                   *    County Tax                         5,446.86          (6,687.03)
       Jun 2020                               2,784.51                                     *    Escrow Only Payment                5,446.86          (3,902.52)
       Jul 2020               928.17                                                       *                                       6,375.03          (3,902.52)
       Aug 2020               928.17                                                       *                                       7,303.20          (3,902.52)
       Aug 2020                                                                   5,394.04 *    County Tax                         7,303.20          (9,296.56)
       Sep 2020               928.17                            4,763.03                   *    County Tax                         3,468.34          (9,296.56)
       Sep 2020                                                 1,612.00                   *    Hazard                             1,856.34          (9,296.56)
       Oct 2020               928.17                                                       *                                       2,784.51          (9,296.56)
                                                                                                Anticipated Transactions           2,784.51          (9,296.56)
       Sep 2020                                          P                        1,612.00      Hazard                                              (10,908.56)
       Oct 2020                              11,138.04 P                                                                                                229.48
                          $11,138.04         $16,707.06       $11,138.06        $12,400.08
     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
     P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
             Case 19-27996                  DocShellpoint
                                                     Filed    09/24/20
                                                          Mortgage   Servicing Entered 09/24/20 21:38:05 Final
                                                                                                            Desc Main
                                                          Document
                                               For Inquiries: (800) 365-7107   Page  5 of 5

                                                                                                    Analysis Date:                                August 31, 2020
                                                                                                    Loan:

                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
     Date                 Anticipated Payments                                                                              Escrow Balance
                         To Escrow       From Escrow                Description                                     Anticipated           Required
                                                                   Starting Balance                                   7,357.42                 3,100.02
  Nov 2020                 1,033.34                                                                                   8,390.76                 4,133.36
  Dec 2020                 1,033.34                                                                                   9,424.10                 5,166.70
  Jan 2021                 1,033.34                                                                                  10,457.44                 6,200.04
  Feb 2021                 1,033.34                                                                                  11,490.78                 7,233.38
  Mar 2021                 1,033.34                                                                                  12,524.12                 8,266.72
  Apr 2021                 1,033.34                                                                                  13,557.46                 9,300.06
  May 2021                 1,033.34                                                                                  14,590.80                10,333.40
  Jun 2021                 1,033.34          5,394.04              County Tax                                        10,230.10                 5,972.70
  Jul 2021                 1,033.34                                                                                  11,263.44                 7,006.04
  Aug 2021                 1,033.34                                                                                  12,296.78                 8,039.38
  Sep 2021                 1,033.34          1,612.00              Hazard                                            11,718.12                 7,460.72
  Sep 2021                                   5,394.04              County Tax                                         6,324.08                 2,066.68
  Oct 2021                1,033.34                                                                                    7,357.42                 3,100.02
                         $12,400.08         $12,400.08
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is 7,357.42. Your starting
 balance (escrow balance required) according to this analysis should be $3,100.02. This means you have a surplus of 4,257.40.
 This surplus must be returned to you unless it is less than $50.00, in which case we have the option of retaining in your escrow account.
 it and lowering your monthly payments accordingly. As the loan is delinquent, we will not be sending a check for the surplus.


 A check will be mailed within 30 days from the date of the analysis if your loan is current.
 We anticipate the total of your coming year bills to be12,400.08. We divide that amount by the number of payments expected during the coming year
 to obtain your escrow payment.
   New Escrow Payment Calculation
  Unadjusted Escrow Payment                                  $1,033.34
  Surplus Reduction:                                             $0.00
  Shortage Installment:                                          $0.00
  Rounding Adjustment Amount:                                    $0.00
  Escrow Payment:                                            $1,033.34

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE11 OF THE UNITED STATES CODE, T
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION      .
